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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF GEORGIA

                                   Case No. 1:20-CV-00055-LAG

DEBORAH LAUFER, Individually,

       Plaintiff

v.

SANGI, LLC, a Limited Liability Compoany d/b/a
EXECUTIVE INN PELHAM

      Defendant
________________________________________/

                   NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff, DEBORAH LAUFER, by and through undersigned counsel, hereby gives notice

that, pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff voluntarily

dismisses any and all claims against Defendant, SANGI, LLC, a Limited Liability Company, d/b/a

EXECUTIVE INN PELHAM, with prejudice.


                                               Respectfully Submitted,

                                               Attorneys for Plaintiff
                                               Kathy L. Houston, Esq., Of Counsel
                                               THOMAS B. BACON, P.A.
                                               15321 S. Dixie Highway, Suite 205
                                               Miami, FL 33157
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                                               By:     /s/ Kathy L. Houston_________
                                               Kathy L. Houston, Esq.
                                               Florida Bar No: 56042
          Case 1:20-cv-00055-LAG Document 9 Filed 06/11/20 Page 2 of 2




                CERTIFICATE OF ELECTRONIC FILING AND SERVICE

       I hereby certify that that the foregoing document is being served this 11th day of June, 2020,

on all counsel of record or pro se parties identified on the attached Service List in the manner

specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some

other authorized manner for those counsel or parties who are not authorized to receive electronically

Notices of Electronic Filing.

                                         SERVICE LIST

       Sangi, LLC, d/b/a Executive Inn Pelham, c/o Sarah Gulati, Esq., Gulati Law, P.L., via email:
       sarah@gulatilaw.com; legal@gulatilaw.com




                                                       /s/ Kathy L. Houston________________
                                                     Kathy L. Houston, Esq.
